             Case 3:20-cr-00321-EMC Document 101 Filed 11/12/21 Page 1 of 3




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     COLIN LIANG
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18
                                UNITED STATES DISTRICT COURT
19
                               NORTHERN DISTRICT OF CALIFORNIA
20
                                   SAN FRANCISCO DIVISION
21
     UNITED STATES OF AMERICA,             )   No. CR-20-321-EMC
22                                         )
            Plaintiff,                     )   STIPULATION AND [PROPOSED] ORDER TO
23                                         )   CONTINUE THE DECEMBER 8, 2021
       v.                                  )   SENTENCING HEARING TO DECEMBER 15,
24                                         )   2021
     YONG HENG LIANG, a/k/a COLIN LIANG    )
25                                         )
            Defendant.                     )
26                                         )
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     STIPULATION AND PROPOSED ORDER
     CR-20-321-EMC                         1
             Case 3:20-cr-00321-EMC Document 101 Filed 11/12/21 Page 2 of 3




 1           On May 26, 2021, defendant Yong Heng Liang a/k/a Colin Liang pled guilty to Count One of

 2   the Indictment pursuant to a plea agreement. The parties are currently scheduled to appear for a

 3   sentencing hearing on December 8, 2021. Mr. Liang, through undersigned counsel, together with the

 4   government hereby move this Court for an order continuing the sentencing hearing to December 15,

 5   2021.

 6           Both defense counsel and government are continuing to gather information that is relevant to

 7   Mr. Liang’s sentencing exposure and the restitution figures for the shipping companies. Both parties

 8   require additional time to complete these preparations, which will also assist the Court in making its

 9   sentencing determination. Accordingly, with the Court’s permission, the parties stipulate that the

10   sentencing hearing scheduled for December 8, 2021, should be continued to December 15, 2021.

11           IT IS SO STIPULATED.

12                                                               Respectfully submitted,

13 DATED: November 12, 2021                                            /s/
                                                                 NAOMI CHUNG
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                                                                 Counsel for Colin Liang
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16 DATED: November 12, 2021                                             /s/
                                                                 COLIN SAMPSON
17                                                               Assistant United States Attorney
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     STIPULATION AND PROPOSED ORDER
     CR-20-321-EMC                                   2
            Case 3:20-cr-00321-EMC Document 101 Filed 11/12/21 Page 3 of 3




 1
                                            [PROPOSED] ORDER
 2
           Based upon the facts set forth in the stipulation of the parties and for good cause shown,
 3
     IT IS HEREBY ORDERED that the sentencing hearing scheduled for December 8, 2021, is vacated,
 4
     and shall now take place on December 15, 2021.
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 7
     DATED:
 8                                                              HON. EDWARD M. CHEN
                                                                UNITED STATES DISTRICT JUDGE
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     STIPULATION AND PROPOSED ORDER
     CR-20-321-EMC                                  3
